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14

15
                                      UNITED STATES DISTRICT COURT
16
                                   NORTHERN DISTRICT OF CALIFORNIA
17
                                           SAN FRANCISCO DIVISION
18
     In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 (SC)
19   LITIGATION
                                                                MDL No. 1917
20   This Document Relates To:                                  DECLARATION OF CRAIG A.
21                                                              BENSON IN SUPPORT SHARP’S
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   ADMINISTRATIVE MOTION TO
     Case No. C 13-1173 (SC)                                    FILE DOCUMENTS UNDER SEAL
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         DECLARATION OF CRAIG A. BENSON IN SUPPORT OF SHARP’S ADMINISTRATIVE MOTION TO FILE
                                        DOCUMENTS UNDER SEAL
                           Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
            Case 4:07-cv-05944-JST Document 2243-1 Filed 12/03/13 Page 2 of 3




 1   I, Craig A. Benson, hereby declare as follows:

 2          1. I am a Partner with the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP, counsel

 3   for Plaintiffs Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of America,

 4   Inc. (collectively, “Sharp”). I am a member of the bar of the State of Maryland and I am admitted to

 5   practice before this court pro hac vice.

 6          2. I submit this declaration in support of Sharp’s Administrative Motion to File Documents

 7   Under Seal. I have personal knowledge of the matters set forth herein and, if called as a witness, I could

 8   and would testify competently to them.

 9          3. Pursuant to Civil Local Rules 7-11 and 79-5, and in accordance with this Court’s General

10   Order No. 62, effective May 10, 2010, Sharp, by and through counsel, respectfully requests an Order

11   permitting it to file under seal portions of Sharp’s Motion to Compel, filed contemporaneously herewith,

12   and Exhibits C, D, and E of the Declaration of Craig Benson in Support of Sharp’s Motion to Compel

13   (“Benson Declaration”).

14          4. Exhibit C is a true and correct copy of Toshiba Corporation’s Supplemental Objections and

15   Responses to Interrogatory Nos. Four and Five of Direct Purchaser Plaintiffs’ First Set of

16   Interrogatories, dated February 10, 2012, designated by Toshiba Corporation as Confidential.

17          5. Exhibit D is a true and correct copy of Toshiba America Electronic Components, Inc.’s

18   Supplemental Objections and Responses to Interrogatory Nos. Four and Five of Direct Purchaser

19   Plaintiffs’ First Set of Interrogatories, dated February 10, 2012, designated by Toshiba America

20   Electronic Components, Inc. as Confidential.

21          6. Exhibit E is a true and correct copy of Attachment A to the Responses and Objections of

22   Defendants Panasonic Corp. of North America, MT Picture Display Co., Ltd., and Panasonic Corp.

23   (f/k/a Matsushita Electric Industrial Co., Ltd.) to Plaintiffs Sharp Electronics Corporation and Sharp

24   Electronics Manufacturing Company of America, Inc.’s First Set of Interrogatories to Defendants,

25   portions of which were designated Confidential by Panasonic Corp. of North America, MT Picture

26   Display Co., Ltd., and Panasonic Corp. (f/k/a Matsushita Electric Industrial Co., Ltd.).
27          7. Exhibit K is a true and correct copy of the Responses and Objections of Defendants Panasonic
                                                    -2-
         DECLARATION OF CRAIG A. BENSON IN SUPPORT OF SHARP’S ADMINISTRATIVE MOTION TO FILE
                                        DOCUMENTS UNDER SEAL
                           Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
            Case 4:07-cv-05944-JST Document 2243-1 Filed 12/03/13 Page 3 of 3




 1   Corp. of North America, MT Picture Display Co., Ltd., and Panasonic Corp. (f/k/a Matsushita Electric

 2   Industrial Co., Ltd.) to Plaintiffs Sharp Electronics Corporation and Sharp Electronics Manufacturing

 3   Company of America, Inc.’s First Set of Interrogatories to Defendants, dated October 24, 2013,

 4   designated Confidential by Panasonic Corp. of North America, MT Picture Display Co., Ltd., and

 5   Panasonic Corp.

 6          8. Sharp’s Motion to Compel and Exhibits C, D, E and K refer to or contain excerpts from

 7   documents that Counsel for Defendants have designated as “Confidential” under the Stipulated

 8   Protective Order [Docket Nos. 306, 1142].

 9          9. Accordingly, Sharp requests that the documents identified herein be filed under seal.

10

11          I declare under penalty of perjury under the laws of the United States of America that the

12   foregoing is true and correct.

13

14          Executed this 3rd day of December, 2013, in Washington, D.C.

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16                                                         /s/ Craig A. Benson

17                                                                     Craig A. Benson
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         DECLARATION OF CRAIG A. BENSON IN SUPPORT OF SHARP’S ADMINISTRATIVE MOTION TO FILE
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